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 7                      UNITED STATES DISTRICT COURT
 8                     CENTRAL DISTRICT OF CALIFORNIA
 9 In re:                                 )   Master File No.
                                          )   CV 01-11115-RSWL (CWx)
10 HOMESTORE.COM, INC.                    )
   SECURITIES LITIGATION                  )
11                                        )   FINAL JUDGMENT AS TO
                Plaintiff,                )   DEFENDANT STUART H.
12                                        )   WOLFF
                                          )
13                                        )
   This Document Relates                  )
14 To:                                    )
                                          )
15                                        )
      All Actions                         )
16                                        )
17
           This Final Judgment governs the consolidated action
18
      entitled In re Homestore.com, Inc. Securities
19
      Litigation, Master File Number CV 01-11115 RSWL (CWx),
20
      as well as all of its constituent actions.
21
           This consolidated action came on for trial before
22
      the Court and a jury with respect to the claims brought
23
      against Defendant Stuart H. Wolff by the Lead Plaintiff
24
      California State Teachers Retirement System and a
25
      certified Plaintiff Class defined as:
26
                 All persons or entities (excluding
27
                 defendants, any members of their immediate
28
                                          1
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 1
                 families, any person, firm, trust,
 2
                 corporation, present or former officer,
 3
                 director, or other individual or entity in
 4               which any Defendant has a controlling
 5               interest or which is affiliated with any
 6               of the Defendants, and any legal
 7               representatives, agents, affiliates,
 8               heirs, successors-in-interest or assigns
 9               of any excluded party), who purchased
10               Homestore.com, Inc. stock from January 1,
11               2000 through December 21, 2001.
12
      (See Dkt. No. 279.)        The issues having been duly
13
      tried and the jury having duly returned its
14
      Special Verdict (Dkt. No. 1362),
15
      IT IS ORDERED AND ADJUDGED that:
16
           1.    On February 24, 2011, the jury rendered its
17
      Special Verdict in favor of Lead Plaintiff California
18
      State Teachers Retirement System and the Plaintiff
19
      Class.    Based upon the jury’s Special Verdict, and
20
      because of the application of the mandatory reduction
21
      provisions of the Private Securities Litigation Reform
22
      Act, 15 U.S.C. §§ 78u-4(f)(7)(B), Lead Plaintiff
23
      California State Teachers Retirement System and the
24
      Plaintiff Class (including each member of the Plaintiff
25
      Class as defined above), and each of them, shall take
26
      nothing from defendant Stuart H. Wolff in this
27
      consolidated action;
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                                          2
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 1
           2.    The operative Second Amended and Consolidated
 2
      Complaint, including each and every purported claim
 3
      alleged therein against defendant Stuart H. Wolff, and
 4
      this consolidated action and each of its constituent
 5
      actions, are fully and finally dismissed with prejudice
 6
      as against defendant Stuart H. Wolff;
 7
           3.    Defendant Stuart H. Wolff shall not recover his
 8
      costs of suit from Lead Plaintiff California State
 9
      Teachers Retirement System as taxed by the Clerk; and,
10
           4.    Pursuant to 15 U.S.C. § 78u-4(c)(1), the Court
11
      finds that each party, and each attorney representing
12
      Lead Plaintiff and each attorney representing defendant
13
      Stuart H. Wolff, complied with Rule 11(b) of the
14
      Federal Rules of Civil Procedure as to any and all
15
      complaints, responsive pleadings, dispositive motions,
16
      and other matters filed in this action.
17
18
19 IT IS SO ORDERED.
20 DATED: August 30, 2011.
21
22
23                               HONORABLE RONALD S.W. LEW
24                               Senior, U.S. District Court Judge
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